                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

                                         STATUS HEARING

  Case No.: 4:18CR00011                                  Date: 10/17/2019


  Defendant:                                          Counsel:
  4:18-cr-00011-MFU-RSB-1 Marcus Jay Davis            Tony Anderson, Bev Davis
  4:18-cr-00011-MFU-RSB-2 Kevin Lamont Trent, Jr.     Aaron Cook, Jimmy Turk
  4:18-cr-00011-MFU-RSB-3 Kanas Lamont'e Trent        Bonnie Lepold, Mike Hemenway
  4:18-cr-00011-MFU-RSB-4 Deshaun Lamar Trent         Chris Kowalczuk, Patrick Kenney
  4:18-cr-00011-MFU-RSB-5 Phillip Daekwon Miles       Tyson Daniel, Cary Bowen
  4:18-cr-00011-MFU-RSB-6 Shabba Larun Chandler       Aaron Houchens, Jeff Dorsey
  4:18-cr-00011-MFU-RSB-8 Ashley Tiana Ross           Terry Grimes
  (bond – excused from appearing)
  4:18-cr-00011-MFU-RSB-10 Tenikqua Fuller (bond-     Corey Diviney
  excused from appearing)




  PRESENT:       JUDGE:                   Michael F. Urbanski, CUSDJ
                 TIME IN COURT:           2:07-4:15; 4:41-5:09 2h 36m
                 Deputy Clerk:            Kristin Ayersman
                 Court Reporter:          Judy Webb
                 U. S. Attorney:          Heather Carlton, Ron Huber, Michael Newman
                 USPO:                    Kim Falatic
                 Case Agent:              Devin Taylor, FBI TFO Pittsylvania County
                 Interpreter:             none


  Status Hearing
  Court addresses parties re filings and emails since yesterday. US updates court/parties re state
  multi-jurisdictional GJ testimony – transcripts being prepared for those not already transcribed.
  Court addresses concerns re US and full disclosure, and defense finding/raising transcript issue
  right after jury sworn. US responds. Court asks for recommendation from US on how to
  proceed. US believes transcripts could be produced by EOD Tuesday, therefore asking jury
  reconvene Wednesday. Dft 4 Mr. Kowalczuk/D. Trent responds. Court asks what remedy
  asking for. Mr. Kowalczuk moves to dismiss all counts against client, Deshaun Trent, with
  prejudice. Dft 2 Mr. Turk/Kevin Trent responds. Dft 10 Mr. Diviney/T. Fuller responds, moves
  to dismiss counts as to client. Dft 6 Mr. Houchens/S. Chandler responds, asks that the court
  dismiss the indictment, joins with D. Trent. Dft 5 Mr. Daniel/P. Miles responds, also asks for
  dismissal of charges/indictment. Court asks what other remedy the defense may have outside of
  request for dismissal. Dft 8 Mr. Grimes/A. Ross responds – not prepared to ask for remedy yet,




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  but wants state subpoena to see when it was issues. Dft 3 Mr. Hemenway/Ms. Lepold/Kanas
  Trent responds, doesn’t have enough information, joins Dft 4 and 6. Court addresses
  alternatives it has at this point. Dft 1 Mr. Anderson/M. Davis responds, joins other dfts, asks for
  time for defense to meet and discuss what other remedies could be available to recommend to the
  court. Court addresses parties as stated, sums current posture of case. Recess 4:15 Reconvene
  4:41 Defense reports back to court after discussion – defense cannot decide at this point, asking
  for all motions to dismiss to be taken under advisement at this point, notes no one objected to
  this hearing today/jury return Monday, and do not agree to put jury off past Monday. Defense
  asks court to devise ex parte method for defense to respond to the court if materials disclosed
  change strategies. US asks for time to be thorough, asks for hearing on Tuesday 10/22/19 to give
  all parties/court time to review transcripts. Court wants certain transcripts produced by
  tomorrow, noting court-wide changeover of email. Court asks for transcripts to delivered
  tomorrow morning, and will enter order on pending motions from hearing today. At this time,
  jury returning on Monday morning. Mr. Hemenway asks for sidebar. Adjourn 5:09




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